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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


    LASHEKA MONTGOMERY, et. al.,

               Plaintiffs,

                      v.                                        CIVIL NO.: 16-2073 (MEL)

    ACE INSURANCE COMPANY, et al.

               Defendant.




                                         OPINION AND ORDER
        On February 17, 2017, Lasheka Montgomery, Matthew Montgomery, and Tanysha Handy

(“Plaintiffs”) filed a second amended complaint against ACE Insurance Company, Toro Verde

Corp., Oroverde Corp., CHUBB Insurance Company, and John Doe, Inc. (“Defendants”), seeking

damages for Defendants’ alleged negligence in causing a zip-lining accident. 1 ECF No. 43-1.

Pending before the court is a motion to dismiss the second amended complaint for failure to state

a claim upon which relief can be granted pursuant to Federal Rule of Civil Procedure 12(b)(6)

(“Rule 12(b)(6)”). ECF No. 110. In the pending motion, Defendants contend that all three

Plaintiffs signed “Participation, Waiver, Assumption of Risk, Indemnification, Hold Harmless and

Release of Liability Agreements” which stated that any legal proceedings related to the agreements

would be carried out exclusively in the state courts of the Commonwealth of Puerto Rico. Id. at

2. Plaintiffs filed a response in opposition to the motion to dismiss in which they argue that

Defendants’ motion is procedurally and substantively improper, and that Defendants should be



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 The second amended complaint also includes claims against Paulson PVR Holdings, LLC and CHUBB Insurance
Company in its capacity as its insurer; however, the claims against these parties have been dismissed. ECF No. 92.
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estopped from raising the forum selection clause. ECF No. 111, at 1–2. Defendant filed a reply

to the response in opposition. ECF No. 117.

   I.      MOTION TO DISMISS STANDARD UNDER RULE 12(B)(6)

        When considering a motion to dismiss under Rule 12(b)(6), the court must limit its focus

to the allegations of the complaint. Litton Indus., Inc. v. Colón, 587 F.2d 70, 74 (1st Cir. 1978).

Specifically, the inquiry should be “whether a liberal reading of [the complaint] can reasonably

admit of a claim . . . .” Id. An evaluation of a motion to dismiss under Rule 12(b)(6) requires the

court to “accept as true ‘all well-pleaded factual averments and indulg[e] all reasonable inferences

in the plaintiff’s favor.’” Doyle v. Hasbro, Inc., 103 F.3d 186, 190 (1st Cir. 1996) (quoting Aulson

v. Blanchard, 83 F.3d 1, 3 (1st Cir. 1996)). Dismissal under Rule 12(b)(6) is appropriate only if

the facts alleged, taken as true, do not warrant recovery. Aulson, 83 F.3d at 3. In order to survive

a motion to dismiss, Plaintiff must “set forth factual allegations, either direct or inferential,

respecting each material element necessary to sustain recovery under some actionable legal

theory.” Gooley v. Mobil Oil Corp., 851 F.2d 513, 515 (1st Cir. 1988). Although all inferences

must be made in Plaintiff’s favor, the court need not accept “bald assertions, unsupportable

conclusions, periphrastic circumlocutions, and the like.” Aulson, 83 F.3d at 3.

        The Supreme Court held in Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007), that in order

to survive a motion to dismiss under Rule 12(b)(6), a complaint must allege “a plausible

entitlement to relief.” Rodríguez-Ortiz v. Margo Caribe, Inc., 490 F.3d 92, 95 (1st Cir. 2007)

(quoting Twombly, 550 U.S. at 559). “While Twombly does not require heightened fact pleading

of specifics, it does require enough facts to ‘nudge [plaintiffs’] claims across the line from

conceivable to plausible.’ Accordingly, in order to avoid dismissal, the plaintiff must provide the

grounds upon which his claim rests through factual allegations sufficient ‘to raise a right to relief



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above the speculative level.’” Torres v. Bella Vista Hosp., Inc., 523 F. Supp. 2d 123, 133 (D.P.R.

2007) (quoting Twombly, 550 U.S. at 555, 570) (citation omitted). Although Twombly was

decided in the antitrust context, the Supreme Court has held that the standard expounded in that

decision applies to “all civil actions.” Ashcroft v. Iqbal, 556 U.S. 662, 684 (2009).

   II.      LEGAL ANALYSIS

         Plaintiffs raise three arguments as to why the motion to dismiss should not be granted.

First, they argue that the motion is procedurally improper because it was filed after Defendants

filed their answer to Plaintiffs’ second amended complaint. Second, Plaintiffs argue that the

motion is substantively improper because the forum selection clause is a document separate from

the pleadings. Third, Plaintiffs argue that Defendants should be estopped from raising the forum

selection clause.

         Turning to Plaintiffs’ first argument, the First Circuit “treat[s] a motion to dismiss based

on a forum selection clause as a motion alleging the failure to state a claim for which relief can be

granted under Rule 12(b)(6).” Claudio-De León v. Sistema Universitario Ana G. Méndez, 775

F.3d 41, 46 (1st Cir. 2014) (quoting Rivera v. Centro Médico de Turabo, Inc., 575 F.3d 10, 15 (1st

Cir. 2009)). See also Silva v. Encyclopedia Britannica Inc., 239 F.3d 385, 387 (1st Cir. 2001)

(“Appellant misconstrues the law of this Circuit, under which a motion to dismiss based upon a

forum-selection clause is treated as one alleging the failure to state a claim for which relief can be

granted under Fed.R.Civ.P. 12(b)(6).”). It follows that in the First Circuit, a motion to dismiss in

light of a forum selection clause is covered by Rule 12(h)(2), which states that “[a] defense of

failure to state a claim upon which relief can be granted ... may be made in any pleading permitted

or ordered under Rule 7(a), or by motion for judgment on the pleadings, or at the trial on the

merits.” Silva, 239 F.3d at 388 (quoting Fed.R.Civ.P. 12(h)(2)). Accordingly, a motion to dismiss



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based on a forum selection clause “may be raised at any time in the proceedings before disposition

on the merits.” Id. Here, Plaintiff’s case has not yet been adjudicated on the merits. Thus,

Plaintiff’s first argument against granting the motion to dismiss is without merit.

       Moving on to Plaintiffs’ second argument, Plaintiffs are correct that normally “[u]nder

Rule 12(b)(6), the district court may properly consider only facts and documents that are part of

or incorporated into the complaint.” Rivera, 575 F.3d at 15 (quoting Trans–Spec Truck Serv., Inc.

v. Caterpillar, Inc., 524 F.3d 315, 321 (1st Cir. 2008)). However, the First Circuit has recognized

an exception for documents, the authenticity of which are not disputed by the parties. Id. See also

Beddall v. State St. Bank & Trust Co., 137 F.3d 12, 17 (1st Cir. 1998) (“When … a complaint’s

factual allegations are expressly linked to—and admittedly dependent upon—a document (the

authenticity of which is not challenged), that document effectively merges into the pleadings and

the trial court can review it in deciding a motion to dismiss under Rule 12(b)(6).”). In their

response in opposition to the motion to dismiss, Plaintiffs did not dispute the authenticity of the

agreements containing the forum selection clause. See ECF No. 111. Thus, the court may consider

the agreements as part of its review of the motion to dismiss. See Claudio-De Leon, 775 F.3d at

46 (finding that employment contracts containing forum selection clauses, the authenticity of

which were not disputed, could be considered in deciding a motion to dismiss under Rule 12(b)(6)).

       Finally, Plaintiffs contend that Defendants should be estopped from raising the forum

selection clause because the motion to dismiss was not filed until almost two years after Plaintiffs

filed their original complaint and the parties have since undertaken substantial discovery. In

Claudio-De León, the First Circuit addressed, and ultimately rejected, a similar argument in

adjudicating a motion to dismiss based on a forum selection clause. Id. at 49. In that case, the

plaintiffs argued that the defendants had waived their right to raise the forum selection clause



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because the defendants waited until eleven months after the filing of the suit to invoke the forum

selection clause and discovery was well under way. Id. The First Circuit found that no waiver

had occurred because a motion to dismiss based on a forum selection clause may be raised at any

time in the proceedings before disposition on the merits, and the plaintiffs’ claims were never

disposed of on the merits. Id. Acknowledging that “waiting so long to enforce the clause d[id], at

first blush, appear unfair to [the plaintiffs],” the First Circuit nonetheless concluded that “there

[wa]s nothing in the record to suggest that any potential unfairness r[ose] to the level of being

‘unjust’ or ‘unreasonable.’ Indeed, if [the plaintiffs] wanted to avoid any seeming unfairness, they

should have filed their suit in the proper forum to begin with.” Id. Accordingly, Plaintiffs’

argument that Defendants should be estopped from raising the forum selection clause is untenable.

         Having disposed of Plaintiffs’ arguments, the court will grant the motion to dismiss without

prejudice. Under federal law, the first question in interpreting a forum selection clause is whether

the clause is permissive or mandatory. 2 Rivera, 575 F.3d at 17. Permissive forum selection clauses

authorize venue in a designated forum, while mandatory forum selection clauses decree that venue

is appropriate exclusively in the designated forum. Id. Here, the forum selection clause states that

disputes “shall be carried out exclusively in the state courts of the Commonwealth of Puerto Rico.”

ECF No 110-1, at 2, 5, 8 (emphasis added). The forum selection clause is clearly mandatory. See

Claudio-De León, 775 F.3d at 46 (“[I]t is axiomatic that the word ‘shall’ has a mandatory

connotation.”). The next step of the analysis is to ascertain the scope of the forum selection clause.

The clause covers “any claim, suit, litigation or legal proceeding related to [the agreement],” which

includes the matter at hand. Lastly, it must be determined “whether there is some reason the



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 Although this is a suit based on diversity, there is no need to address whether forum selection clauses are substantive
or procedural for Erie purposes because “there is no conflict between federal common law and Puerto Rico law
regarding the enforceability of forum-selection clauses.” Rivera, 575 F.3d at 16 (quoting Silva, 239 F.3d at 387 n. 1).

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presumption of enforceability should not apply.” Id. at 48 (quoting Rafael Rodríguez Barril, Inc.

v. Conbraco Indus., Inc., 619 F.3d 90, 93 (1st Cir.2010)). “[A] forum selection clause should be

enforced unless the resisting party can show ‘that enforcement would be unreasonable and unjust,

or that the clause was invalid for such reasons as fraud or overreaching ... [or that] enforcement

would contravene a strong public policy of the forum in which suit is brought.’” Rivera, 575 F.3d

at 18 (quoting M/S Bremen v. Zapata Off–Shore Co., 407 U.S. 1, 15 (1972)). Plaintiffs have not

argued that the forum selection clause was obtained through fraud or overreaching or that public

policy advises against its enforcement. See ECF No. 111. While Plaintiffs contend that granting

Defendants’ motion would “strip[ ] [them] of their day in court,” this is clearly not the case because

the state courts of the Commonwealth of Puerto Rico remain available to them. Id. at 3.

IV.    CONCLUSION

       For the foregoing reasons, Defendant’s motion to dismiss pursuant to Rule 12(b)(6) (ECF

No. 110) is GRANTED. The complaint is hereby DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED

       In San Juan, Puerto Rico, this 30th day of November, 2018.

                                                      s/Marcos E. López
                                                      U.S. Magistrate Judge




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